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                                                         9   OMNIVERSE ONE WORLD TELEVISION,
                                                             INC. and JASON M. DEMEO
                                                        10                       UNITED STATES DISTRICT COURT
                                                        11                      CENTRAL DISTRICT OF CALIFORNIA
                                                        12    PARAMOUNT PICTURES                 CASE NO. 2:19-cv-01156
                                                        13    CORPORATION; COLUMBIA
T R OJ A N L A W O FFICE S




                                                              PICTURES INDUSTRIES, INC.;         REQUEST FOR JUDICIAL NOTICE IN
                             B E V E R L Y H I L LS




                                                        14    DISNEY ENTERPRISES, INC.;          SUPPORT OF DEFENDANTS’
                                                        15    TWENTIETH CENTURY FOX              MOTION TO STRIKE SCANDALOUS
                                                              FILM CORPORATION; WARNER           AND IMMATERIAL PORTIONS OF
                                                        16    BROS ENTERTAINMENT, INC.;          THE COMPLAINT
                                                        17    UNIVERSAL CITY STUDIOS
                                                              PRODUCTIONS LLLP;                  Hon. Dolly M. Gee
                                                        18    UNIVERSAL TELEVISION LLC;
                                                        19    and UNIVERSAL CONTENT              Hearing Date: May 24, 2019
                                                              PRODUCTIONS LLC,                   Time: 9:30 a.m.
                                                        20                                       Courtroom: 8C
                                                        21                  Plaintiffs,
                                                                  v.
                                                        22    OMNIVERSE ONE WORLD
                                                        23    TELEVISION, INC.; JASON M.
                                                              DEMEO,
                                                        24

                                                        25                  Defendants.
                                                        26

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                                              Case 2:19-cv-01156-DMG-PJW Document 32 Filed 04/10/19 Page 2 of 3 Page ID #:219



                                                 1                     REQUEST FOR JUDICIAL NOTICE
                                                 2         Defendants Omniverse One World Television, Inc. and Jason M. Demeo

                                                 3   (“Omniverse”), respectfully submit this request for judicial notice of certain

                                                 4   documents that were filed in Netflix Studios, LLC v. Dragon Media Inc., CV 18-230-

                                                 5   MWF (AS) before this Court. This request for judicial notice is made in support of

                                                 6   Omniverse’s motion to strike, under Federal Rule of Civil Procedure 12(e), Plaintiffs’

                                                 7   Complaint at paragraphs 1, 3, 30, and 37 and footnote 1 of paragraph 1 on the grounds

                                                 8   that the materials are scandalous and immaterial.

                                                 9         Courts may take judicial notice of facts that are “not subject to reasonable
                                                10   dispute” and that are “capable of accurate and ready determination by resort to
                                                11   sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b);
                                                12   United States v. Ritchie, 342 F.3d 903, 907-09 (9th Cir. 2003) (noting that
                                                13   consideration of judicially noticeable matters does not convert “the motion to dismiss
TROJAN LAW OFFICES




                                                     into a motion for summary judgment”). Judicial notice is mandatory “if a party
                     B E V E R L Y H I L LS




                                                14

                                                15   requests it and the court is supplied with the necessary information.” Fed. R. Evid.
                                                16   201(c)(2); In re Icenhower, 755 F.3d 1130, 1142 (9th Cir. 2014).
                                                17         The Ninth Circuit further teaches that “[Courts] may take judicial notice of
                                                18   undisputed matters of public record, including documents on file in federal or state
                                                19   courts.” Harris v. Cty. of Orange, 682 F.3d 1126, 1131–32 (9th Cir. 2012) (citations
                                                20   omitted).
                                                21         Based on the foregoing, Omniverse requests that the Court take judicial notice
                                                22   of the documents on file in the public docket of the United States District Court of
                                                23   the Central District of California for Netflix Studios, LLC v. Dragon Media Inc. CV
                                                24   18-230-MWF (AS), before the Hon. Michael W. Fitzgerald.
                                                25         In particular, Plaintiffs request judicial notice of the following particular
                                                26   docket entries:
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                                                 1            1. Exhibit A: Dkt. #1: Complaint of Plaintiffs Netflix Studios, LLC;

                                                 2               Amazon Content Services, LLC, Columbia Pictures Industries, Inc.,

                                                 3               Disney Enterprises, Inc., Paramount Pictures Corporation, Twentieth

                                                 4               Century Fox Film Corporation, Universal City Studios Productions

                                                 5               LLLP, and Warner Bros. Entertainment Inc. against Defendants Dragon

                                                 6               Media Inc. d/b/a Dragon Box, Paul Christoforo, and Jeff Williams.

                                                 7            2. Exhibit B: Dkt. #59: Judgment and Permanent Injunction Against

                                                 8               Defendant against Defendants Dragon Media Inc., Paul Christoforo, and
                                                 9               Jeff Williams.
                                                10

                                                11                                        Respectfully submitted,
                                                12                                        TROJAN LAW OFFICES
                                                13                                        by
TROJAN LAW OFFICES
                     B E V E R L Y H I L LS




                                                14

                                                15   April 10, 2019                       /s/R. Joseph Trojan
                                                                                          R. Joseph Trojan
                                                16                                        Attorney for Defendants,
                                                17                                        OMNIVERSE ONE WORLD
                                                                                          TELEVISION, INC. and JASON M.
                                                18                                        DEMEO
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